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                                                              L.B.F. 3015.1

                                               UNITED STATES BANKRUPTCY COURT
                                              EASTERN DISTRICT OF PENNSYLVANIA
                                                    PHILADELPHIA DIVISION

In re:     Stephanie T. Fryer                                                   Chapter:   13

                                                                                Case No.: 21-11319-AMC

                                  Debtor(s)

                                                            Chapter 13 Plan

              Original
                 Fifth        Amended

Date:        11/26/2024

                                               THE DEBTOR HAS FILED FOR RELIEF UNDER
                                                CHAPTER 13 OF THE BANKRUPTCY CODE

                                                   YOUR RIGHTS WILL BE AFFECTED


You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which contains the date of the
confirmation hearing on the Plan proposed by the Debtor. This document is the actual Plan proposed by the Debtor to adjust
debts. You should read these papers carefully and discuss them with your attorney. ANYONE WHO WISHES TO OPPOSE ANY
PROVISION OF THIS PLAN MUST FILE A WRITTEN OBJECTION in accordance with Bankruptcy Rule 3015 and Local Rule
3015-4. This Plan may be confirmed and become binding, unless a written objection is filed.

                                   IN ORDER TO RECEIVE A DISTRIBUTION UNDER THE PLAN, YOU
                                  MUST FILE A PROOF OF CLAIM BY THE DEADLINE STATED IN THE
                                              NOTICE OF MEETING OF CREDITORS.


 Part 1: Bankruptcy Rule 3015.1(c) Disclosures

          Plan contains non-standard or additional provisions -- see Part 9

          Plan limits the amount of secured claim(s) based on value of collateral -- see Part 4

          Plan avoids a security interest or lien -- see Part 4 and/or Part 9

 Part 2: Plan Payment, Length and Distribution -- PARTS 2(c) and 2(e) MUST BE COMPLETED IN EVERY CASE

   § 2(a) Plan Payments (For Initial and Amended Plans):

          Total Length of Plan:        60       months.

          Total Base Amount to be paid to the Chapter 13 Trustee ("Trustee")     $41,679.22    Debtor
          shall pay the Trustee                         per month for            months and then
          Debtor shall pay the Trustee                  per month for the remaining           months;

                                                            or
          Debtor shall have already paid the Trustee         $26,451.00 through month number       42
          and then shall pay the Trustee       $847           per month for the remaining 18       months.


              Other changes in the scheduled plan payment are set forth in § 2(d)

   § 2(b) Debtor shall make plan payments to the Trustee from the following sources in addition to future wages
           (Describe source, amount and date when funds are available, if known):
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 § 2(c) Alternative treatment of secured claims:

              None.    If "None" is checked, the rest of § 2(c) need not be completed.

              Sale of real property
              See § 7(c) below for detailed description

              Loan modification with respect to mortgage encumbering property:
              See § 4(f) below for detailed description

 § 2(d) Other information that may be important relating to the payment and length of Plan:


 § 2(e) Estimated Distribution:
        A. Total Priority Claims (Part 3)
             1. Unpaid attorney's fees                                            $4,000.00
             2. Unpaid attorney's costs                                               $0.00
             3. Other priority claims (e.g., priority taxes)                      $4,432.83
        B. Total distribution to cure defaults (§ 4(b))                          $28,546.42
        C. Total distribution on secured claims (§§ 4(c) and (d))                     $0.00
        D. Total distribution on general unsecured claims (Part 5)                 $532.05
                                       Subtotal                                  $37,511.03
        E. Estimated Trustee's Commission                                         $4,167.92
        F. Base Amount                                                           $41,679.22

 §2(f) Allowance of Compensation Pursuant to L.B.R. 2016-3(a)(2)

         By checking this box, Debtor's counsel certifies that the information contained in Counsel's Disclosure of
         Compensation [Form B2030] is accurate, qualifies counsel to receive compensation pursuant to
         L.B.R. 2016-3(a)(2), and requests this Court approve counsel's compensation in the total amount of
                          , with the Trustee distributing to counsel the amount stated in § 2(e)A.1. of the Plan.
         Confirmation of the plan shall constitute allowance of the requested compensation.

Part 3: Priority Claims

 § 3(a) Except as provided in § 3(b) below, all allowed priority claims will be paid in full unless the creditor agrees
 otherwise:


Creditor                                           Claim        Type of Priority                  Amount to be Paid by Trustee
                                                   Number
Cibik Law, P.C.                                                 Attorney Fees                                $4,000.00
IRS                                                       3     Taxes                                        $4,174.83
PA Dept. of Revenue                                       6     Taxes                                          $258.00

 § 3(b) Domestic Support obligations assigned or owed to a governmental unit and paid less than full amount.

      None.    If "None" is checked, the rest of § 3(b) need not be completed.

      The allowed priority claims listed below are based on a domestic support obligation that has been assigned to or is
      owed to a governmental unit and will be paid less than the full amount of the claim. This plan provision requires that
      payments in § 2(a) be for a term of 60 months; see 11 U.S.C. § 1322(a)(4).

Name of Creditor                                                   Claim Number                   Amount to be Paid by Trustee
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Part 4: Secured Claims

 § 4(a) Secured Claims Receiving No Distribution from the Trustee:

     None.     If "None" is checked, the rest of § 4(a) need not be completed.

 Creditor                                                                       Claim       Secured Property
                                                                                Number
    If checked, the creditor(s) listed below will receive no distribution           8       116 Lincoln Avenue, Yeadon, PA 19050
    from the trustee and the parties' rights will be governed by
    agreement of the parties and applicable nonbankruptcy law.

 U.S. Dept. of Hous. and Urban Dev.

 § 4(b) Curing default and maintaining payments

     None.     If "None" is checked, the rest of § 4(b) need not be completed.

 The Trustee shall distribute an amount sufficient to pay allowed claims for prepetition arrearages; and, Debtor shall pay
 directly to creditor monthly obligations falling due after the bankruptcy filing in accordance with the parties' contract.


 Creditor                                                Claim              Description of Secured Property and       Amount to be
                                                         Number             Address, if real property                 Paid by
                                                                                                                      Trustee

 PNC Bank, N.A.                                               5             116 Lincoln Avenue, Yeadon, PA 19050          $28,546.43

 § 4(c) Allowed secured claims to be paid in full: based on proof of claim or pre-confirmation determination of the
 amount, extent or validity of the claim

     None.     If "None" is checked, the rest of § 4(c) need not be completed.

 (1) Allowed secured claims listed below shall be paid in full and their liens retained until completion of payments under the
 plan.

 (2) If necessary, a motion, objection and/or adversary proceeding, as appropriate, will be filed to determine the amount,
 extent or validity of the allowed secured claim and the court will make its determination prior to the confirmation hearing.

 (3) Any amounts determined to be allowed unsecured claims will be treated either: (A) as a general unsecured claim under
 Part 5 of the Plan or (B) as a priority claim under Part 3, as determined by the court.

 (4) In addition to payment of the allowed secured claim, "present value" interest pursuant to 11 U.S.C. § 1325(a)(5)(B)(ii) will
 be paid at the rate and in the amount listed below. If the claimant included a different interest rate or amount for "present
 value" interest in its proof of claim or otherwise disputes the amount provided for "present value" interest, the claimant must
 file an objection to confirmation.

 (5) Upon completion of the Plan, payments made under this section satisfy the allowed secured claim and release the
 corresponding lien.

Name of Creditor               Claim        Description of Secured              Allowed       Present    Dollar        Amount to
                               Number       Property                            Secured       Value      Amount        be Paid by
                                                                                Claim         Interest   of Present    Trustee
                                                                                              Rate       Value
                                                                                                         Interest
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§ 4(d) Allowed secured claims to be paid in full that are excluded from 11 U.S.C. § 506

    None.     If "None" is checked, the rest of § 4(d) need not be completed.

The claims below were either (1) incurred within 910 days before the petition date and secured by a purchase money
security interest in a motor vehicle acquired for the personal use of the debtor(s), or (2) incurred within 1 year of the petition
date and secured by a purchase money security interest in any other thing of value.

(1) The allowed secured claims listed below shall be paid in full and their liens retained until completion of payments
under the plan.

(2) In addition to payment of the allowed secured claim, "present value" interest pursuant to 11 U.S.C. § 1325(a)(5)(B)(ii)
will be paid at the rate and in the amount listed below. If the claimant included a different interest rate or amount for
"present value" interest in its proof of claim, the court will determine the present value interest rate and amount at the
confirmation hearing.

Name of Creditor            Claim      Description of Secured         Allowed           Present     Dollar            Amount to
                            Number     Property                       Secured           Value       Amount            be Paid by
                                                                      Claim             Interest    of Present        Trustee
                                                                                        Rate        Value
                                                                                                    Interest

§ 4(e) Surrender

    None.     If "None" is checked, the rest of § 4(e) need not be completed.

(1) Debtor elects to surrender the secured property listed below that secures the creditor's claim.
(2) The automatic stay under 11 U.S.C. § 362(a) and 1301(a) with respect to the secured property terminates upon
confirmation of the Plan.
(3) The Trustee shall make no payments to the creditors listed below on their secured claims.


Creditor                                                 Claim Number       Secured Property


§ 4(f) Loan Modification

    None.     If "None" is checked, the rest of § 4(f) need not be completed.

(1) Debtor shall pursue a loan modification directly with
or its successor in interest or its current servicer ("Mortgage Lender"), in an effort to bring the loan current and resolve the
secured arrearage claim.

(2) During the modification application process, Debtor shall make adequate protection payments directly to Mortgage
Lender in the amount of                  per month, which represents
(describe basis of adequate protection payment). Debtor shall remit the adequate protection payments directly to the
Mortgage Lender.

(3) If the modification is not approved by                   (date), Debtor shall either (A) file an amended Plan to otherwise
provide for the allowed claim of the Mortgage Lender; or (B) Mortgage Lender may seek relief from the automatic stay with
regard to the collateral and Debtor will not oppose it.
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Part 5: General Unsecured Claims

 § 5(a) Separately classified allowed unsecured non-priority claims

       None.   If "None" is checked, the rest of § 5(a) need not be completed.

 Creditor /                                                   Claim        Treatment                                  Amount to be
 Basis for Separate Classification                            Number                                                  Paid by Trustee

 ECMC                                                              7       Claim not paid by trustee.
 Education Loan
 Navient Solutions, LLC                                            1       Claim not paid by trustee.
 Education Loan
 Navient Solutions, LLC                                            2       Claim not paid by trustee.
 Education Loan

 § 5(b) Timely filed unsecured non-priority claims

 (1)    Liquidation Test (check one box)

            All Debtor(s) property is claimed as exempt.
            Debtor(s) has non-exempt property valued at                       for purposes of § 1325(a)(4) and plan
            provides for distribution of                 to allowed priority and unsecured general creditors.

 (2)    Funding: § 5(b) claims to be paid as follows (check one box):

            Pro rata
            100%
            Other (Describe)

Part 6: Executory Contracts and Unexpired Leases

       None.   If "None" is checked, the rest of § 6 need not be completed.

 Creditor                                     Claim        Nature of Contract or Lease              Treatment by Debtor Pursuant
                                              Number                                                to § 365(b)


Part 7: Other Provisions

 § 7(a) General principles applicable to the Plan

 (1) Vesting of Property of the Estate (check one box)

            Upon confirmation
            Upon discharge

 (2) Subject to Bankruptcy Rule 3012 and 11 U.S.C. § 1322(a)(4), the amount of a creditor's claim listed in its proof of claim
 controls over any contrary amounts listed in Parts 3, 4 or 5 of the Plan.

 (3) Post-petition contractual payments under § 1322(b)(5) and adequate protection payments under § 1326(a)(1)(B), (C)
 shall be disbursed to the creditors by the debtor directly. All other disbursements to creditors shall be made by the Trustee.

 (4) If Debtor is successful in obtaining a recovery in a personal injury or other litigation in which Debtor is the plaintiff, before
 the completion of plan payments, any such recovery in excess of any applicable exemption will be paid to the Trustee as a
 special Plan payment to the extent necessary to pay priority and general unsecured creditors, or as agreed by the Debtor
 and the Trustee and approved by the court.
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§ 7(b) Affirmative duties on holders of claims secured by a security interest in debtor's principal residence

(1) Apply the payments received from the Trustee on the pre-petition arrearage, if any, only to such arrearage.

(2) Apply the post-petition monthly mortgage payments made by the Debtor to the post-petition mortgage obligations as
provided for by the terms of the underlying mortgage note.

(3) Treat the pre-petition arrearage as contractually current upon confirmation for the Plan for the sole purpose of precluding
the imposition of late payment charges or other default-related fees and services based on the pre-petition default or
default(s). Late charges may be assessed on post-petition payments as provided by the terms of the mortgage and note.

(4) If a secured creditor with a security interest in the Debtor's property sent regular statements to the Debtor pre-petition,
and the Debtor provides for payments of that claim directly to the creditor in the Plan, the holder of the claims shall resume
sending customary monthly statements.

(5) If a secured creditor with a security interest in the Debtor's property provided the Debtor with coupon books for payments
prior to the filing of the petition, upon request, the creditor shall forward post-petition coupon book(s) to the Debtor after this
case has been filed.

(6) Debtor waives any violation of stay claim arising from the sending of statements and coupon books as set forth above.

§ 7(c) Sale of Real Property

    None.     If "None" is checked, the rest of § 7(c) need not be completed.
(1) Closing for the sale of
(the "Real Property") shall be completed within                    months of the commencement of this bankruptcy case (the "Sale
Deadline"). Unless otherwise agreed by the parties or provided by the Court, each allowed claim secured by the Real
Property will be paid in full under § 4(b)(1) of the Plan at the closing ("Closing Date").

(2) The Real Property will be marketed for sale in the following manner and on the following terms:




(3) Confirmation of this Plan shall constitute an order authorizing the Debtor to pay at settlement all customary closing
expenses and all liens and encumbrances, including all § 4(b) claims, as may be necessary to convey good and
marketable title to the purchaser. However, nothing in this Plan shall preclude the Debtor from seeking court approval of the
sale pursuant to 11 U.S.C. § 363, either prior to or after confirmation of the Plan, if, in the Debtor's judgment, such approval
is necessary or in order to convey insurable title or is otherwise reasonably necessary under the circumstances to
implement this Plan.

(4) At the Closing, it is estimated that the amount of no less than                      shall be made payable to the Trustee.

(5) Debtor shall provide the Trustee with a copy of the closing settlement sheet within 24 hours of the Closing Date.

(6) In the event that a sale of the Real Property has not been consummated by the expiration of the Sale Deadline:
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Part 8: Order of Distribution

 The order of distribution of Plan payments will be as follows:

     Level 1: Trustee Commissions*
     Level 2: Domestic Support Obligations
     Level 3: Adequate Protection Payments
     Level 4: Debtor's attorney's fees
     Level 5: Priority claims, pro rata
     Level 6: Secured claims, pro rata
     Level 7: Specially classified unsecured claims
     Level 8: General unsecured claims
     Level 9: Untimely filed general unsecured non-priority claims to which the debtor has not objected

 *Percentage fees payable to the standing trustee will be paid at the rate fixed by the United States Trustee not to
 exceed ten (10) percent.


Part 9: Non Standard or Additional Plan Provisions

 Under Bankruptcy Rule 3015.1(e), Plan provisions set forth below in Part 9 are effective only if the applicable box in Part 1 of
 this Plan is checked. Nonstandard or additional plan provisions placed elsewhere in the Plan are void.

     None.     If "None" is checked, the rest of Part 9 need not be completed.

 Ineligible for Discharge
 Debtor is ineligible for discharge under 11 USC § 727(a)(8) because a discharge was granted to her in a previous case
 less than eight years ago.


Part 10: Signatures

 By signing below, attorney for Debtor(s) or unrepresented Debtor(s) certifies that this Plan contains no nonstandard or
 additional provisions other than those in Part 9 of the Plan, and that the Debtor(s) are aware of, and consent to the terms of
 this Plan.


 Date: 11/26/2024                                                  /s/ Michael A. Cibik, Esquire
                                                                   Michael A. Cibik, Esquire, Attorney for Debtor(s)

 If Debtor(s) are unrepresented, they must sign below.



 Date:
                                                                   Debtor



 Date:
                                                                   Joint Debtor
